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                                             PUBLISHED

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                              No. 23-4352


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,

                     v.

        MAGGIE ANNE BOLER,

                           Defendant - Appellant.



        Appeal from the United States District Court for the District of South Carolina, at
        Columbia. Terry L. Wooten, Senior District Judge. (3:22-cr-00073-TLW-1)


        Argued: May 9, 2024                                         Decided: August 23, 2024


        Before THACKER, QUATTLEBAUM, and BENJAMIN, Circuit Judges.


        Affirmed by published opinion. Judge Thacker wrote the opinion in which Judge Benjamin
        joined. Judge Quattlebaum wrote a dissenting opinion.


        ARGUED: Jeremy A. Thompson, OFFICE OF THE FEDERAL PUBLIC DEFENDER,
        Columbia, South Carolina, for Appellant. Tommie DeWayne Pearson, OFFICE OF THE
        UNITED STATES ATTORNEY, Columbia, South Carolina, for Appellee. ON BRIEF:
        Adair F. Boroughs, United States Attorney, OFFICE OF THE UNITED STATES
        ATTORNEY, Columbia, South Carolina, for Appellee.
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        THACKER, Circuit Judge:

               Maggie Boler (“Appellant”) was convicted of six counts of presenting false claims

        against the United States by submitting false tax returns to the Internal Revenue Service

        (“IRS”), and one count of making a false statement on her fraudulent Paycheck Protection

        Program 1 (“PPP”) loan application. Appellant submitted six tax returns to the IRS but only

        received refunds on four of those returns. As a result of her convictions, Appellant was

        sentenced to 30 months of imprisonment.

               The sole issue in this appeal is whether Appellant’s United States Sentencing

        Guidelines (“Guidelines”) sentencing range can rely on the entire financial harm Appellant

        intended to cause, even though she never received the funds from the two tax returns denied

        by the IRS.

               We conclude that the complete extent of Appellant’s intended financial harm can

        be utilized in determining her Guidelines sentencing range. Thus, we affirm because the

        district court correctly incorporated Appellant’s full intended loss amount into the

        sentencing calculation.




               1
                In 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security
        (“CARES”) Act, Pub. L. 116-136, § 1102, 134 Stat. 285, 286 (2020). Section 1102 of the
        CARES Act created the Paycheck Protection Program to grant forgivable loans to small
        business owners for certain expenses. Id.

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                                                         I.

                                                         A.

               Appellant was prosecuted for her involvement in a fraudulent tax scheme. Part of

        her scheme was filing fraudulent tax returns to the IRS, claiming larger refund amounts

        than she and others were entitled to. Appellant used fictitious interest income and

        fabricated federal income tax withholdings to claim these large tax refunds. For the 2016

        tax year, Appellant submitted six fraudulent tax returns on behalf of herself and others,

        falsely claiming a total of $159,389 in tax refunds. The IRS denied two of the fraudulent

        tax returns but paid the other four tax refunds, which totaled $116,106.

               In 2021, Appellant applied for a PPP loan. In her PPP loan application, Appellant

        stated that her business, named “Maggie A Boler,” had an average monthly payroll of

        $9,500 for one employee -- herself. In her application, Appellant requested $20,833 based

        on this information. This information was false. There was no evidence supporting the

        existence of any business in Appellant’s name.              Namely, there were no “business

        expenses,” “required withholdings for a business such as payments to Social Security,” or

        any “tax payments.” J.A. 93. 2 And the IRS could not locate “any payroll payments to

        [Appellant] for $9,500 a month.” Id. at 92–93. As a result of her fraudulent PPP loan

        application, Appellant received $20,833 to which she was not entitled.




               2
                   Citations to the “J.A.” refer to the Joint Appendix filed by the parties in this appeal.

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                                                    B.

               In 2022, Appellant was indicted on six counts of presenting false claims against the

        United States in violation of 18 U.S.C. § 287 and one count of making a false statement

        via the PPP loan application in violation of 18 U.S.C. § 1014. Appellant proceeded to trial

        and was found guilty on all counts.

               Prior to sentencing, the United States Probation Office (the “Probation Office”)

        prepared Appellant’s Presentence Investigation Report (“PSR”). In the PSR, the Probation

        Office calculated the loss associated with Appellant’s fraudulent scheme in order to

        determine the recommended sentencing enhancements pursuant to Guidelines

        § 2B1.1(b)(1).    In doing so, the Probation Office relied on the commentary to

        section 2B1.1, which defines “loss” as the “greater of actual loss or intended loss.”

        Guidelines § 2B1.1 cmt. 3(A). The commentary further defines “[a]ctual loss” as the

        “reasonably foreseeable pecuniary harm that resulted from the offense,” whereas

        “[i]ntended loss” is defined as “the pecuniary harm that the defendant purposely sought to

        inflict,” including any “intended pecuniary harm that would have been impossible or

        unlikely to occur.” Id. § 2B1.1 cmt. 3(A)(i)–(ii).

               Based on the commentary, the Probation Office calculated Appellant’s intended loss

        amount as $180,222. This amount combined all six fraudulent tax return refunds Appellant

        submitted to the IRS, which amounted to $159,389, plus the $20,833 PPP loan. Although

        the IRS did not pay two of the claimed refunds, the Probation Office nevertheless counted

        all six tax returns toward Appellant’s sentencing enhancements pursuant to Guidelines

        § 2B1.1 cmt. 3(A)(ii). That is because all six tax returns, plus the PPP loan amount,

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        represented the full amount of harm Appellant intended to cause. On the other hand, the

        actual loss Appellant caused equaled the total refunds she received from the IRS

        ($116,106) plus her PPP loan amount ($20,833) for a total of $136,939. Because the

        commentary requires the sentencing court to apply the higher of a defendant’s actual or

        intended loss, the Probation Office relied on the intended loss amount of $180,222. As a

        result, the Probation Office recommended a ten-level sentencing enhancement because the

        loss amount exceeded $150,000 but was not more than $250,000.              See Guidelines

        § 2B1.1(b)(1)(F).

               Appellant objected to the calculated loss amount contained in the PSR, arguing that

        the loss calculation should not include the two tax returns rejected by the IRS. The

        Probation Office rejected Appellant’s contention and maintained the recommended ten-

        level enhancement in the PSR.

               At the sentencing hearing, Appellant articulated her objection to the calculated loss

        amount. Appellant relied on Kisor v. Wilkie, 588 U.S. 558 (2019), which requires a court

        to determine that a regulation is genuinely ambiguous before deferring to an agency’s

        interpretation of its own regulation -- in this case, the Guidelines’ commentary. Appellant

        argued that the ordinary meaning of “loss” as written in Guidelines § 2B1.1 is not

        ambiguous. She contended that “loss” encompasses the actual amount lost by the victim

        and not any intended loss. Therefore, in her view, the unambiguous meaning of “loss”

        only included actual loss and the commentary could not expand the plain text. Thus,

        Appellant argued that the two tax returns rejected by the IRS could not be included in the

        loss calculation.

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               The district court overruled Appellant’s objection. The district court held that “loss”

        as written in section 2B1.1 does not “draw any distinction between” actual and intended

        loss. J.A. 282. While the district court did not explicitly state that the term “loss” is

        ambiguous, it did observe that nothing in the text of the Guideline “says [that] loss can’t

        be both” actual and intended. Id. Thus, in the district court’s view, the commentary’s

        definitions of “loss” simply provides “an explanation of the types of loss that you can have,

        and both would be appropriate to determine what the guideline range would be.” Id. at

        283. Based on a total offense level of 19, which included the ten-level enhancement for

        the loss calculation, and a criminal history category of I, the district court calculated

        Appellant’s Guidelines sentencing range to be 30–37 months of imprisonment. The district

        court imposed a sentence of 30 months of imprisonment.

               This timely appeal followed.

                                                     II.

               We review de novo the district court’s legal interpretation of the term “loss.” United

        States v. Miller, 316 F.3d 495, 498 (4th Cir. 2003). But “to the extent that the determination

        of the amount of loss is a factual matter, we review only for clear error.” United States v.

        West, 2 F.3d 66, 71 (4th Cir.1993) (internal quotation marks omitted).

                                                     III.

                                                     A.

               The Guidelines set forth certain increases to a defendant’s offense level depending

        on the amount of “loss” related to the fraud committed. See Guidelines § 2B1.1(b)(1). The

        relevant Guideline, section 2B1.1, directs a sentencing court to increase the offense level

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        pursuant to the Guidelines where “the loss exceeded $6,500.” Id. Section 2B1.1 does not

        define what constitutes “loss” for purposes of calculating the applicable sentencing

        enhancement. But the Guidelines’ commentary to section 2B1.1 lists several definitions

        of loss and instructs the sentencing court as to how to calculate the appropriate loss amount.

        See id. cmt. 3(A). The Guidelines’ commentary defines “[a]ctual loss” as the “reasonably

        foreseeable pecuniary harm that resulted from the offense.” Id. cmt. 3(A)(i). And it defines

        “[i]ntended loss” as “the pecuniary harm that the defendant purposely sought to inflict,”

        including “intended pecuniary harm that would have been impossible or unlikely to occur.”

        Id. cmt. 3(A)(ii). The commentary instructs the sentencing court to apply the loss that is

        “the greater of actual loss or intended loss.” Id. cmt. 3(A).

               When deciding whether to defer to the Guidelines’ commentary, we apply the

        framework set forth in Kisor v. Wilkie, 588 U.S. 558 (2019). See United States v. You, 74

        F.4th 378, 397 (6th Cir. 2023). Prior to Kisor, our analysis of the Guidelines’ commentary

        was guided by the standard outlined in Stinson v. United States, 508 U.S. 36 (1993). In

        Stinson, the Supreme Court “held that the commentary deserves the same deference that

        courts give agencies’ interpretations of their own rules” -- commonly known as Seminole

        Rock/Auer deference. 3 United States v. Campbell, 22 F.4th 438, 444 (4th Cir. 2022) (citing

        508 U.S. at 44–45). Based on Stinson, we were to defer to the commentary unless its

        interpretation is “plainly erroneous or inconsistent” with the plain language of the




               Bowles v. Seminole Rock & Sand Co., 325 U.S. 410, 414 (1945); Auer v. Robbins,
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        519 U.S. 452, 461 (1997).

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        Guideline. Id. at 45; see also id. at 45–47 (discussing Stinson, Seminole Rock/Auer

        deference, and the “line of cases governing this type of deference”). 4

               But Stinson’s analysis was altered by Kisor. As we noted in United States v.

        Campbell, “Kisor limited when courts will afford Seminole Rock/Auer deference” to an

        agency’s interpretation of its own regulations, and in turn, to the commentary to the

        Guidelines. 22 F.4th at 445 (citing 588 U.S. 558).

               Pursuant to Kisor’s directive, “Auer deference ‘can arise only if a regulation is

        genuinely ambiguous.’” Romero v. Barr, 937 F.3d 282, 291 (4th Cir. 2019) (quoting 588

        U.S. at 573). And a regulation can only be deemed “genuinely ambiguous” if uncertainty

        exists “even after a court has resorted to all the standard tools of interpretation,” including

        consideration of the “text, structure, history, and purpose of a regulation.” Kisor, 588 U.S.

        at 573, 575. “If uncertainty does not exist, there is no plausible reason for deference. The

        regulation then just means what it means—and the court must give it effect, as the court

        would any law.” Id. at 574–75.

               Thus, concluding whether a rule is “genuinely ambiguous” is step one of the

        analysis. See Kisor, 588 U.S. at 573. Once a regulation is determined to be genuinely

        ambiguous, “the agency’s reading must still fall ‘within the bounds of reasonable



               4
                 The Supreme Court’s recent ruling in Loper Bright Enterprises v. Raimondo, 144
        S. Ct. 2244 (2024), calls into question the viability of Auer deference. In Loper Bright, the
        Court rejected the long-standing notion that “ambiguities” in statutory language act as
        “implicit delegations to agencies.” Id. at 2265. Since Loper Bright dealt specifically with
        ambiguities in statutory directives to agencies and did not address the issue of agency
        interpretations of their own regulations, we will apply the Supreme Court’s recent guidance
        in Kisor to address the issue before us today.
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        interpretation’” in order to be accorded deference. Id. at 559 (quoting Arlington v. FCC,

        569 U.S. 290, 296 (2013)). In other words, the agency’s interpretation of its regulation

        “must come within the zone of ambiguity” created by the ambiguous text of the regulation.

        Id. at 576.

               Still, Kisor warns that “not every reasonable agency reading of a genuinely

        ambiguous rule should receive Auer deference.” Kisor, 588 U.S. at 576. We must also

        “make an independent inquiry into whether the character and context of the agency

        interpretation entitles it to controlling weight.” Id. This inquiry ensures that courts defer

        only to those agency readings “that Congress would have wanted [them] to.” See id.

               While there is no “exhaustive test” to determine whether the character of an

        agency’s interpretation is entitled to Auer deference, the Supreme Court has “laid out some

        especially important markers.” Kisor, 588 U.S. at 576–77. First, the interpretation must

        be the “official position” of the agency. Id. at 577 (internal quotation marks omitted).

        “Next, the agency’s interpretation must in some way implicate its substantive expertise.”

        Id. at 579. “Finally, an agency’s reading of a rule must reflect its ‘fair and considered

        judgment.’” Id. (quoting Auer, 519 U.S. at 462).

                                                     B.

               The issue we confront in this case is whether the term “loss” in Guidelines § 2B1.1

        is genuinely ambiguous, and if it is, whether we should defer to the Guidelines’

        commentary to ascertain its meaning.




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                                                     1.

               At step one of the Kisor analysis, we must determine whether a genuine ambiguity

        exists in section 2B1.1’s use of the term “loss.” If the term is ambiguous, we then consider

        the commentary. Appellant, relying on what she views as the ordinary meaning of loss as

        well as the canons of statutory interpretation, argues that the term “loss” is not ambiguous

        and, therefore, the district court erred by deferring to the commentary’s definitions of

        “loss.” In response, the Government argues that “loss” can mean several different things,

        particularly in light of the context and history of the Guidelines. Thus, the Government

        contends that in the face of a genuine ambiguity, the district court properly deferred to the

        commentary.

                                                     a.

               We begin with the ordinary meaning of the term “loss.” See United States v. Haas,

        986 F.3d 467, 480 (4th Cir. 2021) (“[W]e construe terms in the Sentencing Guidelines

        according to their ordinary meaning.”).

               Appellant argues that after considering the ordinary meaning of the term “loss,” it

        is not genuinely ambiguous. Appellant relies on dictionary definitions to argue that “loss”

        can only mean the “tangible, actual loss” suffered, for instance, “where [a] victim actually

        lost money.” Appellant’s Opening Br. at 14. Appellant also points to a dictionary

        definition of loss as “the disappearance or diminution of value” to support that “loss” can

        only encompass “measurable actual loss.”          Id. at 13–14 (citing Loss, Black’s Law

        Dictionary (11th ed. 2019)). And Appellant argues that where “loss” plainly means actual



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        loss, the commentary’s definition of “intended loss” inappropriately expands the plain text

        of the Guidelines to include harm that did not occur.

               In response, the Government asserts that the term “loss” is “not as limited as

        [Appellant] would claim.” United States Resp. Br. at 14. The Government points out that

        “loss” has a “myriad” of different definitions. Id. For instance, the Government cites the

        Merriam-Webster Dictionary, which alone has “seven distinct definitions of ‘loss,’ with

        those definitions often having multiple sub-definitions.”          Id.   And the Government

        disagrees with Appellant’s contention that the definitions of “loss” exclusively refer to

        measurable actual loss. Instead, the Government points out that “loss” also includes

        intangible harm such as the “absence of a physical capability,” “the harm or privation

        resulting from losing or being separated from someone or something,” or a “failure to gain,

        win, obtain, or utilize” a goal. Id. (quoting Loss, Merriam-Webster, https://www.merriam-

        webster.com/dictionary/loss [https://perma.cc/J6HK-YEYJ]).

               As noted by the Government, dictionary definitions do not reveal any single

        definition of the term “loss.”       For example, the 1993 edition of Webster’s New

        International Dictionary defines “loss” as any of the following:

               (a)    the act or fact of losing;

               (b)    a person or thing or an amount that is lost;

               (c)    the act or fact of failing to gain, win, obtain, or utilize;

               (d)    [a] decrease in amount, magnitude, or degree;

               (e)    the state or fact of being destroyed or placed beyond recovery; and



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               (f)    the amount of an insured’s financial detriment due to the occurrence of a
                      stipulated contingent event.

        Webster’s New International Dictionary 1338 (1993); see also United States v. Banks, 55

        F.4th 246, 257–58 (3d Cir. 2022) (discussing the same). In attempting to collect dictionary

        definitions of “loss,” the Sixth Circuit opined:

                      One dictionary defines the word to mean, among other things,
                      the “amount of something lost” or the “harm or suffering
                      caused by losing or being lost.” American Heritage Dictionary
                      of the English Language 1063 (3d ed. 1992). Another says it
                      can mean “the damage, trouble, disadvantage, [or]
                      deprivation . . . caused by losing something” or “the person,
                      thing, or amount lost.” Webster’s New World College
                      Dictionary 799 (3d ed. 1996). A third defines it as “the being
                      deprived of, or the failure to keep (a possession, appurtenance,
                      right, quality, faculty, or the like),” the “[d]iminution of one’s
                      possessions or advantages,” or the “detriment or disadvantage
                      involved in being deprived of something[.]” 9 Oxford English
                      Dictionary 37 (2d ed. 1989).

        United States v. Riccardi, 989 F.3d 476, 486 (6th Cir. 2021) (alterations in original). These

        multiple and varied definitions alone demonstrate that “loss” could mean a number of

        different things depending on the dictionary of one’s choice. Thus, there is “no single right

        answer” to the meaning of “loss” based on its plain reading. See Kisor, 588 U.S. at 575;

        see also You, 74 F.4th at 397 (“[T]he term ‘loss’ in § 2B1.1 has no one definition and can

        mean different things in different contexts.” (internal quotation marks and citation

        omitted)); United States v. Rainford, -- F.4th --, 2024 WL 3628082 at *7 (2d Cir. Aug. 2,

        2024) (same).




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                                                     b.

               Nor do the various cannons of statutory interpretation render the term “loss” as

        written in section 2B1.1 any less ambiguous. 5 When interpreting a regulation, we do not

        read its language “in isolation.” Lynch v. Jackson, 853 F.3d 116, 121 (4th Cir. 2017).

        Rather “the words . . . must be read in their context and with a view to their place in the

        overall [regulatory] scheme.” Id. (internal quotation marks omitted). In interpreting a

        regulation’s plain language, we look to “the specific context in which the language is used,

        and the broader context of the” regulation as a whole. Hurlburt v. Black, 925 F.3d 154,

        158 (4th Cir. 2019) (en banc) (internal quotation marks omitted).

               Appellant argues that the context of section 2B1.1 unambiguously limits “loss” to

        actual loss. Appellant first emphasizes that because loss must have “exceeded” $6,500 in

        order for an enhancement to apply, “loss” cannot include harm that was not actually

        inflicted. See Guidelines § 2B1.1(b)(1). Appellant asserts that “[b]y using the verb



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                 We pause to address the use of corpus linguistics in the dissent’s analysis. While
        the dissent views corpus linguistics as simply “another tool for interpreting the meaning of
        words in a statute (or other text),” it is not so benign. Post at 27. Indeed, legal corpus
        linguistics can be quite a flawed tool; a controversial tool at best. See Anya Bernstein,
        What Counts as Data?, 86 Brook. L. Rev. 435 (2021); Anya Bernstein, Legal Corpus
        Linguistics and the Half-Empirical Attitude, 106 Cornell L. Rev. 1397 (2021) (hereinafter
        Bernstein, Legal Corpus Linguistics); Mark W. Smith & Dan M. Peterson, Big Data Comes
        for Textualism, 70 Drake L. Rev. 387 (2021); John S. Heretic, Against Corpus Linguistics,
        108 The Geo. L.J. Online 51. The bottom line is that context matters and legal corpus
        linguistics largely “ignores the crucial contexts in which legal language is produced,
        interpreted, and deployed.” Berstein, Legal Corpus Linguistics, at 1397. A survey of
        novels, magazines, newspapers, popular television shows and movies is no match for legal
        analysis of the text, structure, purpose and history of the actual regulation we are
        considering.

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        ‘exceed’ in its past tense in conjunction with a value, [section] 2B1.1(b)(1) anticipates the

        enhancement applying where the victim actually lost money.” Appellant’s Opening Br. at

        14. And Appellant avers that “[a] defendant’s intent has nothing to do with measuring

        whether loss exceeded $6,500.” Id. (internal quotation marks omitted).

               In response, the Government asserts that there is no need to delve into the guesswork

        urged by Appellant in order to discern the context of section 2B1.1 because the United

        States Sentencing Commission (“Commission”) has already provided ample context for

        “loss” in Guidelines § 1B1.3 -- the relevant conduct Guideline. In section 1B1.3, the

        Commission directs a sentencing court to consider not only the actual harm caused by a

        defendant but also “all harm that was the object of such acts and omissions.” Guidelines

        § 1B1.3(a)(3) (emphasis supplied). In the Government’s view, this broad interpretation of

        “harm” expands the definition of “loss” within section 2B1.1 without resort to the

        commentary. In other words, “loss” is ambiguous where it can mean different types of

        harm, including actual or intended harm.

               We agree with the Government’s view that the context of section 1B1.3 applies to

        our interpretation of “loss” as written in section 2B1.1. The relevant conduct Guideline

        directs courts as to how to consider “harm” in the context of specific offense characteristics

        “[u]nless otherwise specified.” Guidelines § 1B1.3(a). In this instance, section 2B1.1 does

        not explicitly limit “loss” to actual or intended loss.        Therefore, the language of

        section 1B1.3 provides a starting point for interpreting the section 2B1.1 enhancements.

        When read together, Guidelines sections 1B1.3 and 2B1.1 support the understanding that



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        “loss” must encompass both the actual harm and the harm that was the object of Appellant’s

        scheme.

               Where, as here, the Commission has provided an expansive context for interpreting

        “harm” and the text of the Guideline at issue does not specify the type of “harm,” “loss”

        cannot be as limited as Appellant contends. That is true especially where it would

        undermine the Commission’s directive. See Kisor, 588 U.S. at 590–91 (directing the court

        to carefully consider not only the text but also the history and purpose of a regulation when

        assessing whether ambiguity exists). Indeed, section 1B1.3 lends more ambiguity to the

        meaning of “loss” because it can encompass more than the actual harm caused by a

        defendant.

                                                       c.

               Appellant further argues that “loss” should be limited to “actual loss” where the

        Commission omitted any reference to intended harm. In Appellant’s view, the decision to

        omit explicit language including “intended loss” from section 2B1.1 was intentional where

        similar language is present in other sections of the Guidelines.

               In support, Appellant cites the tax evasion Guideline, where the Commission defines

        tax loss to include “the total amount of loss that was the object of the offense (i.e., the loss

        that would have resulted had the offense been successfully completed).” Guidelines

        § 2T1.1(c)(1). To support her argument, Appellant attempts to liken this case to the facts

        and Guideline at issue in United States v. Campbell, 22 F.4th 438. In Campbell, we held

        that where Guidelines section 4B1.2 defined “controlled substance offense[s]” to the

        exclusion of any attempt crimes, the commentary could not expand the plain text of the

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        Guidelines to include inchoate crimes. Id. at 445. We reasoned that common sense and

        the canon of expressio unius dictated that “a definition which declares what a term means

        excludes any meaning that is not stated.” Id. (internal quotation marks omitted).

                But the present case differs from Campbell because section 2B1.1 does not define

        “loss” and does not suggest that intended loss should be excluded from its definition. And,

        as previously discussed, the relevant conduct that Guideline § 1B1.3 directs the sentencing

        court to consider is more than just the tangible harm -- it includes unrealized but intended

        loss.

                Further, contrary to the dissent’s contention, our reading of section 2T1.1(c)(1) in

        comparison to section 1B1.3(a) does not render the language of other Guidelines sections

        “superfluous.” See Post at 11. Reference to Guidelines § 2T1.1(c)(1) is not a useful

        comparator. It simply does not apply here.

                Section 1B1.3(a) instructs sentencing courts as to how to interpret “harm” as used

        throughout the Guidelines when the definition of harm is not “otherwise specified.”

        Guidelines § 1B1.3(a) (emphasis supplied). The fact that other sections, such as Guidelines

        § 2T1.1(c)(1), specify that the harm at issue in that particular section also includes intended

        loss does not make our interpretation of section 1B1.3 inappropriate in this case. That is

        because here, the Guideline at issue does not define the type of harm the court should

        consider. Indeed, section 1B1.3 does not apply to the tax section cited by both the

        Appellant and the dissent because there, unlike here, the type of harm the court must

        consider is clearly defined in the text of that Guideline. Thus, courts can apply the language

        of sections 2T1.1 and 1B1.3 simultaneously without negating any instruction by the

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        Commission. However, if we were to adopt the dissent’s reasoning, we would, in turn,

        read out the language of section 1B1.3 that instructs courts to consider both actual and

        intended harm, unless otherwise specified.

               In sum, the structure of the Guidelines supports the conclusion that the meaning of

        “loss” is broad enough to encompass intended loss. 6 And, at minimum, the dissent’s

        comparison of sections 1B1.3(a) and 2T1.1(c)(1) creates more confusion as to the meaning

        of the term “loss” in section 2B1.1, supporting our holding that “loss” is genuinely

        ambiguous.

                                                     d.

               The purpose of the Guidelines further cuts against Appellant’s narrow reading of

        “loss.” In promulgating the Guidelines, the Commission set out to “establish sentencing

        policies and practices for the Federal criminal justice system that . . . avoid[] unwarranted

        sentencing disparities among defendants with similar records who have been found guilty

        of similar criminal conduct.” 28 U.S.C. § 991(b)(1)(B). The Commission relies on the

        intended loss amount to further this goal where it encompasses both “the seriousness of the

        offense and the defendant’s relative culpability.” Guidelines § 2B1.1 cmt. (background);

        see id. App. C Supp. at 104–05 (Amend. 792) (noting “the Commission’s continued belief



               6
                 In fact, the Sentencing Commission has recently promulgated amendments to the
        Guidelines that will resolve this issue going forward. The amendments will incorporate
        the intended loss commentary, Guidelines § 2B1.1 cmt. 3(A), into the Guidelines’ text. 89
        Fed. Reg. 36,853, 36,855–36,857 (May 3, 2024) (effective Nov. 1, 2024, absent contrary
        action by Congress). Thus, the text of the Guideline itself will define “loss” as the greater
        of the actual loss or intended loss.

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        that intended loss is an important factor” because it focuses “specifically on the defendant’s

        culpability”).

               Were we to accept Appellant’s limited reading of “loss,” it could result in sentencing

        disparities for defendants with similar culpability. And this is contrary to the Guidelines’

        purpose. For instance, if sentencing courts only considered “actual loss” when deciding

        the specific offense characteristics, defendants with equal culpability for the same criminal

        acts would receive longer sentences merely because, for one reason or another, one

        succeeded in carrying out their fraudulent scheme while the other did not. See United

        States v. You, 74 F.4th 378, 398 (6th Cir. 2023) (noting potential sentencing disparities if

        “loss” were to be so limited).

               Because no single meaning of “loss” is evident from the plain text of section 2B1.1,

        even after employing the traditional tools of interpretation, we conclude that a genuine

        ambiguity exists.

                                                      2.

               Given that ambiguity exists as to the Guidelines’ definition of “loss,” we next

        consider whether the commentary’s definition of “loss” falls within the “zone of

        ambiguity” such that it should be given deference. Kisor, 588 U.S. at 576; You, 74 F.4th

        at 398. In doing so, we ask whether the commentary falls “within the bounds of reasonable

        interpretation” by the relevant agency; here, the Commission. Id. (internal quotation marks

        omitted). If it does, we independently inquire as to whether the commentary’s “character

        and context” entitles it to “controlling weight.” Id. To make this assessment, we consider

        whether the commentary is the Commission’s “official position,” “implicate[s] its

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        substantive expertise” in some way, and reflects the “fair and considered judgment” of the

        Commission such that it is not simply a “convenient litigating position.” Kisor, 588 U.S.

        at 577–79 (citations omitted).

               The character and context of the commentary entitle it to controlling weight. The

        commentary’s definitions of loss are the Commission’s “official position.” Kisor, 588 U.S.

        at 577. In 2001, the Commission amended the Guidelines to consolidate the theft and fraud

        sections into section 2B1.1 (the “2001 Amendment”). Office of Gen. Counsel, U.S. Sent’g

        Comm’n, Loss Calculations Under § 2B1.1(b)(1), at 1 (2020).                Also known as the

        “Economic Crime Package,” the 2001 Amendment was “the outcome of Commission

        review of economic crime issues over a number of years.” Office of Educ. & Sent’g

        Practice, Amendments to the Federal Sentencing Guidelines: Highlights of Key Points [of

        the 2001 Amendment] 1 (2001).           As a part of the Economic Crime Package, the

        Commission “modified the definition of loss [in the commentary] such that it would be

        based on reasonably foreseeable pecuniary harm and would include intended loss.” Loss

        Calculations Under § 2B1.1(b)(1), at 1. Thus, the inclusion of intended loss in the

        Economic Crime Package has been the longstanding position of the Commission. 7 And


               7
                 The dissent ignores these sources, wherein, for example, the Office of General
        Counsel to the Commission clearly states that the Commission intended to retain the use
        of intended loss in the application of Guidelines § 2B1.1 when consolidating the theft and
        fraud Guidelines under the 2001 Amendment. While the dissent argues that the “intended
        loss” language previously contained in section 2F1.1 was intentionally removed by the
        2001 Amendment, these sources indicate otherwise. Indeed, the Commission’s Office of
        Education and Sentencing Practices highlights this point -- “[t]he revised definition of loss
        retains the rule that loss is the greater of actual and intended loss.” Highlights of Key Points
        [of the 2001 Amendment] 1 (emphasis supplied).

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        the use of “intended loss” in the commentary was the result of the well-reasoned decision

        making by the Commission.

                 Moreover, the commentary reflects the “substantive expertise” of the Commission

        and its “fair and considered judgment.” Kisor, 588 U.S. at 577, 579. Each year, the

        Commission “collects a vast amount of federal sentencing data” and “also reviews and

        refines the [G]uidelines in light of decisions from courts of appeals, sentencing-related

        research, congressional action, and input from the criminal justice community.” U.S.

        Sent’g                Comm’n,                 About               Us                (2023),

        https://www.ussc.gov/sites/default/files/pdf/about/overview/2023_About-Us-Trifold.pdf

        [https://perma.cc/2ZUW-N62T]. Indeed, the Commission conducts ample research on

        section 2B1.1 crimes and includes its findings on its website. See U.S. Sent’g Comm’n,

        Quick Facts: Theft, Property Destruction, and Fraud Offenses (2023).

                 In sum, because the commentary defines loss within the “zone of ambiguity” created

        by Guidelines § 2B1.1 and because the “character and context” of the commentary support

        that it is deserving of “controlling weight,” see Kisor, 588 U.S. at 576, the district court

        properly deferred to the commentary to determine the appropriate loss amount in

        Appellant’s case.

                                                     C.

                 In conclusion, because a genuine ambiguity exists as to the meaning of “loss” in

        Guidelines § 2B1.1 and the character of the commentary supports that it is deserving of

        deference, we affirm the district court’s application of the commentary and its reliance on



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        Appellant’s full intended loss amount to calculate her Guidelines sentencing range pursuant

        to section 2B1.1.

                                                    IV.

               For the foregoing reasons, the judgment of the district court is

                                                                                     AFFIRMED.




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        QUATTLEBAUM, Circuit Judge, dissenting:

               Sometimes lawyers and judges overcomplicate things. This is one of those

        occasions. Today, the majority holds that the meaning of the word “loss” in U.S.S.G.

        § 2B1.1(b)(1) is ambiguous, such that we should defer to the Guideline commentary’s

        definition of the word that encompasses intended losses. The majority thus concludes that

        harm a wrongdoer intended to cause but did not achieve is nevertheless a loss. I see no way

        to read the word “loss,” as used in § 2B1.1(b)(1), that way. “Loss” is not ambiguous.

        “Loss” means actual loss, not intended loss. Because the Guideline commentary’s

        interpretation of “loss” in § 2B1.1(b)(1) to include intended loss is both inconsistent with

        and a plainly erroneous reading of the Guideline, no deference to the commentary is

        warranted. And because the district court applied a § 2B1.1(b)(1) enhancement based on

        intended loss instead of actual loss, I would vacate the sentence and remand for

        resentencing with instructions to the district court to calculate Boler’s Guidelines range

        without considering intended loss for purposes of a § 2B1.1(b)(1) enhancement. I

        respectfully dissent.

                                                      I.

               This appeal presents a simple question: does the word “loss” in § 2B1.1(b)(1)

        include tax refunds that Boler intended but failed to fraudulently obtain, or is it limited to

        the actual funds she fraudulently obtained from the government? The answer is also simple.

        “Loss” in § 2B1.1(b)(1) means only actual, not intended, loss.




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                                        A. Ordinary Meaning of the Text

                  We begin with the text of § 2B1.1(b)(1). See United States v. Skinner, 70 F.4th 219,

        230 (4th Cir. 2023) (recognizing that “[c]ourts interpret the Sentencing Guidelines

        according to the ordinary rules of statutory construction” (internal quotations omitted));

        Barnhart v. Sigmon Coal Co., 534 U.S. 438, 450 (2002) (“As in all statutory construction

        cases, we begin with the language of the statute.”). Section 2B1.1(b)(1) instructs courts to

        apply a sentencing enhancement “[i]f the loss exceeded $6,500,” followed by a table of

        enhancements corresponding to incrementally increasing loss amounts. U.S.S.G.

        § 2B1.1(b)(1) (emphasis added). The Guideline itself does not define “loss.” Even so, the

        ordinary meaning of the term is clear. “Loss” refers to actual losses, not purely intended

        ones. 1




                 Like the parties, the majority frames the interpretation of “loss” as seeking its
                  1

        ordinary meaning. Maj. Op. at 10-11. But “[s]ometimes context indicates that a technical
        meaning applies. Every field of serious endeavor develops its own nomenclature—
        sometimes referred to as terms of art.” ANTONIN SCALIA & BRYAN A. GARNER, READING
        LAW: THE INTERPRETATION OF LEGAL TEXTS 73 (2012) (emphasis in original). There is an
        unsettled question of whether the Guidelines’ primary audience is ordinary citizens, whose
        criminal sentences are affected by them, or lawyers and judges, who use and apply them.
        See United States v. Seefried, 639 F. Supp. 3d 8, 14 (D.D.C. 2022). Following the lead of
        the parties and the majority, I have evaluated “loss” in terms of its ordinary meaning. But
        even if “loss” is a legal term of art when used in the Guidelines, I get to the same result.
        Around the time the Guidelines first used “loss,” Black’s Law Dictionary defined over 30
        types of loss, including “capital loss,” “economic loss” and “passive loss.” See BLACK’S
        LAW DICTIONARY (6th ed. 1990). None of the defined types of loss refer to purely intended
        loss; they represent a broad variety of actual losses. Even “unrealized loss,” which might
        sound like it refers to a purely intended loss, does not cover intended losses when one looks
        to the definition of the term. See id. (defining “unrealized loss” as a “loss that has not yet
        materialized” (emphasis added)). So, regardless of whether “loss” is a legal term of art, it
        means only actual loss.
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               To illustrate, imagine Jonathan overhears Julia telling her friends that she keeps

        $1,000 in cash in her closet for emergencies. Jonathan then breaks into Julia’s home,

        intending to steal the $1,000 that he believes, based on what he overheard, Julia keeps in a

        closet. If Jonathan indeed finds $1,000 and flees with it, and the police ask Julia the amount

        of her loss, she will say $1,000. But what if while trying to gather up the $1,000, the sound

        of a security alarm startles Jonathon into fleeing with only $500, leaving the other $500

        behind? If asked the amount of her loss, Julia would not say $1,000 just because Jonathan

        may have intended to steal that amount. She would say that her loss was the amount

        Jonathan actually stole.

                                              1. Dictionaries

               Dictionaries confirm this understanding. In 1987, when the Guidelines were enacted

        and first used “loss” in the context of sentencing enhancements for economic offenses, see

        U.S.S.G. §§ 2B1.1(b)(1), 2F1.1 (1987), Merriam-Webster defined “loss” as “the act of

        losing; that which is lost; defeat; diminution; bereavement; harm; waste by escape or

        leakage; [or] number of casualties suffered in war.” Loss, WEBSTER’S DICTIONARY (1987).

        Similarly, Collins Dictionary defined “loss” to include “bereavement, deprivation,

        disappearance, failure, forfeiture, losing, misfortune, mislaying, privation, squandering,

        [or] waste,” as well as “cost, damage, defeat, destruction, detriment, disadvantage, harm,

        hurt, impairment, injury, [or] ruin.” Loss, THE NEW COLLINS DICTIONARY AND

        THESAURUS IN ONE (1987). All these definitions involve actual loss. None involve purely

        intended loss.



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               As the majority recognizes, the definitions of “loss” include a wide variety of

        categories. Maj. Op. at 11–12. I agree that “loss” is a broad term. But breadth does not

        equal ambiguity. To explain, consider “vehicle.” Cambridge Dictionary defines “vehicle”

        as “a machine, usually with wheels and an engine, used for transporting people or goods,

        especially on land.” 2 Under that definition, cars, trucks, vans and buses are vehicles. Other

        dictionaries’ definitions of “vehicle” are not limited to land. For example, Merriam-

        Webster defines “vehicle” as “a means of carrying or transporting something.” 3 So, under

        that definition, “vehicle” may include planes, helicopters and boats. But the word is not

        ambiguous just because there are many different types of vehicles.

               Even though the government insists “loss” is ambiguous, all the definitions that it—

        and the majority—cite are consistent. Each involves an event or state of being that has

        actually happened. Whether economic, physical or emotional, each definition concerns an

        actual, realized loss. None suggest that “loss” includes harm that was intended but never

        realized.

               Resisting that conclusion, the government contends that three of the modern 4

        dictionary definitions it cites cover intended loss. These three definitions are (1) “the partial


               2
                  Vehicle, CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/diction
        ary/english/vehicle [https://perma.cc/F6V26DZZ] (last visited July 1, 2024).
               3
                 Vehicle, MERRIAM-WEBSTER, https://www.merriam-webster.com/dictionary/vehi
        cle [https://perma.cc/W7X9-3XHE] (last visited July 1, 2024).
               4
                 The government relies on modern definitions of “loss.” However, our point of
        focus is the meaning of the term when it was first used in the Guidelines for sentencing
        enhancements for economic offenses. See United States v. Hill, 963 F.3d 528, 532 (6th Cir.
        (Continued)
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        or complete deterioration or absence of a physical capability or function”; (2) “the harm or

        privation resulting from losing or being separated from someone or something”; and (3) “a

        failure to gain, win, obtain, or utilize.” Resp. Br. at 14 (quoting Loss, MERRIAM-WEBSTER

        (2023)). The government argues that the “absence of a physical capability,” such as the

        loss of the ability to play a sport, is not an actual, measurable loss. Id. And it contends that

        “the harm or privation resulting from losing or being separated from someone or

        something” is “a reflection of an unmeasurable, emotional reaction.” Id. As for the “failure

        to gain, win, obtain, or utilize,” the government insists that such a loss “would clearly be

        reflected by the IRS’s inability to gain or obtain proper tax revenue.” Id.

               I fail to see how those arguments help the government. The first two examples the

        government offers involve intangible losses. But intangible losses are still actual losses.

        Take, for instance, the “absence of a physical capability.” An accident that results in

        injuries that render a person unable to walk would fall under that definition. The inability

        to walk is an actual loss, as it actually impairs the person’s physical capabilities. Such an

        impairment may decrease the person’s quality of life. While that type of loss is intangible

        and difficult to measure with a monetary value, juries value such intangible losses all the

        time. The intangibility of such a loss does not make it any less real. It may be true that

        § 2B1.1(b)(1) concerns only tangible losses. But even so, the issue we confront is not


        2020) (“And we look to dictionaries that defined the relevant words when the Sentencing
        Commission initially used them in 1987.”). This is the same way we interpret statutes.
        See Niz-Chavez v. Garland, 593 U.S. 155, 160 (2021); Wis. Cent. Ltd. v. United States, 585
        U.S. 274, 284 (2018); Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227–28 (2014). As
        explained above, “loss” was used in that context in the 1987 Guidelines. Still, we consider
        the government’s modern definitions for argument’s sake.
                                                      26
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        whether “loss” includes intangible losses. Our question is whether “loss” includes purely

        intended losses. None of the definitions cited by the government encompass such losses.

               At first blush, the government’s third example—“a failure to gain, win, obtain, or

        utilize”—sounds the most like an intended loss. But the government’s use of this definition

        views the failure to gain from the vantagepoint of the perpetrator. In contrast, the

        Guidelines view “loss” from the perspective of the victim. So, the government fails to show

        how this definition encompasses purely intended loss in the context of the Guidelines.

               Last, the government offered a hypothetical at oral argument in an attempt to show

        that “loss” encompasses intended losses. The government asked us to imagine that an

        investor purchased $1,000 in stock, and the stock immediately decreased in value to $800.

        The government asserted that the investor might describe his stock purchase as a $200 loss

        even if he had not yet sold the stock and realized that loss. But there are at least two

        problems with this example. First, at the time the stock decreased in value to $800, the

        investor would have an actual loss. At that moment, the value of his stock portfolio

        decreased. Second, the investor did not intend any loss. So, the government’s hypothetical

        does not help resolve the question here—whether “loss” includes harm that a wrongdoer

        sought to inflict but did not achieve.

                                           2. Corpus Linguistics

                                                    a.

               Corpus linguistics—another tool for interpreting the meaning of words in a statute

        (or other text)—confirms “loss” is not ambiguous. “Corpus linguistics is the study of

        language (linguistics) through systematic analysis of data derived from large databases of

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        naturally occurring language (corpora, the plural of corpus, a body of language).” Thomas

        R. Lee & James C. Phillips, Data-Driven Originalism, 167 U. PA. L. REV. 261, 289 (2019).

        In layman’s terms, corpus linguistics clarifies a term’s meaning by studying the term’s use

        across specified time periods and origins. “The uses can then be reviewed one by one, in

        their context, to determine” the term’s meaning. United States v. Rice, 36 F.4th 578, 583

        n.6 (4th Cir. 2022). When the uses are reviewed as a whole, “a broad picture of how a word

        or phrase was customarily used and understood during a specific time period can emerge.”

        Id.

               To conduct a corpus linguistics analysis of “loss,” I consulted one of the online

        databases of naturally occurring language, the Corpus of Historical American English

        (“COHA”). 5 COHA contains over 475 million words of text derived from fiction, popular

        magazines, newspapers, academic texts, and TV and movie subtitles from the 1820s to the

        2010s. See Corpus of Historical American English, https://www.english-corpora.org/coha/

        [https://perma.cc/HK78-6N95] (last visited July 1, 2024).

               I began by searching the term “loss” in COHA. I limited my search results to uses

        of the term between 1984 and 1990, the years surrounding the 1987 enactment of the



               5
                 Another valuable database is the Corpus of Contemporary American English
        (“COCA”). Encompassing sources of contemporary English originating between 1990 and
        2019, COCA “contains over one billion words of text . . . from eight genres: spoken, fiction,
        popular magazines, newspapers, academic texts, TV and movie subtitles, blogs, and other
        web pages.” Corpus of Contemporary American English, https://www.english-
        corpora.org/coca/ [https://perma.cc/9JQP-9M42] (last visited Ju1y 1, 2024). But because
        the Guidelines’ first use of “loss” in the context of sentencing enhancements for economic
        offenses predates this database’s sources, I did not use COCA here.

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        Guidelines, which used “loss” in the context of sentencing enhancements for economic

        offenses. See U.S.S.G. §§ 2B1.1(b)(1), 2F1.1 (1987). I obtained 1,434 hits for uses of

        “loss” during this time period. I then utilized COHA’s random sample function to pull 100

        hits from that total. 6 I reviewed each of the 100 randomly selected hits and found that every

        instance of “loss” referred to an actual loss.

               For example, the random sample included sixteen hits of newspaper or magazine

        sources using “loss” when reporting decreases relating to entities’ revenues. Another

        twelve hits consisted of newspaper, magazine, fiction or television sources using “loss” in

        the context of a diminution in a physiological or psychological function, such as memory

        loss, or the removal of a body part, such as the loss of an ear. Ten hits represented

        newspaper, magazine, fiction, academic texts or television sources using “loss” as a

        synonym for death. And nine hits represented newspaper or magazine sources referring to

        “loss” when reporting the outcome of a given sporting event between two teams. Other hits

        within the sample consisted of sources using “loss” when referring to an emotional state,

        such as feeling at a loss, or when referring to deprivations or decreases in a variety of other

        contexts, such as animals’ loss of habitat or a driver’s loss of license. But none of the hits

        referred to intended but unrealized loss. 7

               This confirms what we knew at the start. If ordinary speakers of the English

        language say “loss,” they mean something that actually occurred. Given its plain and


               6
                   COHA allows a user to retrieve a random sample of 100, 200, 500 or 1,000 results.
               7
                The random sample I retrieved from COHA is attached to this opinion as an
        appendix. See Dissent Appendix.

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        ordinary meaning, “loss” as used in § 2B1.1(b)(1) means only actual loss. That is how

        dictionaries use the term, and that is how people in the real world have used the term, as

        confirmed by a corpus linguistics analysis. No matter how you slice it, the ordinary

        meaning of “loss” does not encompass intended loss.

                                                      b.

               Without challenging any specifics of my analysis, the majority dismisses corpus

        linguistics generally. It resists my statement that corpus linguistics is another tool for

        interpreting words and phrases, asserting that corpus linguistics “is not so benign.” Maj.

        Op. at 13 n.5. It adds that corpus linguistics “can be quite a flawed tool; a controversial

        tool at best.” Id. And it argues that “corpus linguistics largely ‘ignores the crucial contexts

        in which legal language is produced, interpreted, and deployed.’” Id. (quoting Anya

        Bernstein, Legal Corpus Linguistics and the Half-Empirical Attitude, 106 CORNELL L.

        REV. 1397, 1397 (2021)). Last, the majority concludes that “[a] survey of novels,

        magazines, newspapers, popular television shows and movies is no match for legal analysis

        of the text, structure, purpose and history of the actual regulation we are considering.” Id.

               I recognize that not all academics and jurists have embraced corpus linguistics as an

        analytical tool. And I welcome debate on the topic, as healthy and respectful discussion

        about important ideas elevates our legal analysis. In that spirit, I respond with a few points.

               First, it seems hard to dispute that corpus linguistics is gaining traction as an

        interpretive tool. Corpus linguistics finds support in opinions written by former Supreme




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        Court Justice Breyer and current Justices Thomas and Barrett. 8 Also, a number of state and

        federal courts around the country, including this court, have utilized corpus linguistics

        when discerning the meaning of disputed terms. 9

               But admittedly, popularity does not equate to efficacy. See Stinnie v. Holcomb, 77

        F.4th 200, 230 (4th Cir. 2023) (Quattlebaum, J., dissenting) (noting that “as we learned as

        children, just because others are doing something, that does not make it right.”), cert.

        granted sub nom. Lackey v. Stinnie, 144 S. Ct. 1390 (2024). So, as to the majority’s specific

        critique about context, corpus linguistics does not ignore context; it embraces it. In fact,

        corpus linguistics, which surveys the various ways speakers and writers actually used the

        word or phrase at issue, provides real world examples that reveal how context can inform

        meaning. Assume a word or phrase has different meanings depending on the context. A

        corpus linguistics search should identify the different contexts in which the word or phrase



               8
                 See Muscarello v. United States, 524 U.S. 125, 129–30 (1998); N.Y. State Rifle &
        Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 109–10 (2022) (Breyer, J., dissenting); Carpenter
        v. United States, 585 U.S. 296, 347 & n.4 (2018) (Thomas, J., dissenting); Moore v. United
        States, 144 S. Ct. 1680, 1701 (2024) (Barrett, J., dissenting).
               9
                  See, e.g., Rice, 36 F.4th at 583 n.6 (using corpus linguistics to determine the
        meaning of “strangulation”); Waetzig v. Halliburton Energy Servs., Inc., 82 F.4th 918, 927
        n.12 (10th Cir. 2023) (“final proceeding”); Fulkerson v. Unum Life Ins. Co. of Am., 36
        F.4th 678, 682–83 (6th Cir. 2022) (“reckless driving”); United States v. Seefried, 639 F.
        Supp. 3d 8, 13–16 (D.D.C. 2022) (“administration of justice”); Matthews v. Indus. Comm’n
        of Ariz., 520 P.3d 168, 175–77 (Ariz. 2022) (“injury by accident”); In re Estate of Heater,
        498 P.3d 883, 890–91 (Utah 2021) (“natural parent”); State v. Misch, 256 A.3d 519, 529–
        30 (Vt. 2021) (“bear arms”); Wilson v. Safelite Grp., Inc., 930 F.3d 429, 439–45 (6th Cir.
        2019) (Thapar, J., concurring in part and in the judgment) (“results in” and “extending to”);
        Richards v. Cox, 450 P.3d 1074, 1079–81 (Utah 2019) (“employment in”); People v.
        Harris, 885 N.W.2d 832, 839 (Mich. 2016) (“information”).

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        is used. That should help a court compare the context of the statute, regulation or contract

        at issue with the different contexts identified in the corpus linguistics search.

               Professors Lee 10 and Mouritsen have made this same point:

               [C]orpus analysis does not take place in an acontextual vacuum. A corpus-
               based approach to ordinary meaning, as noted, does not simply evaluate
               which of two competing uses is the most common. Instead, the corpus allows
               us to examine the use of a word or phrase in a particular syntactic, semantic,
               or pragmatic context, in the speech or writing of a particular speech
               community or register, and at a particular point in time…. we are often able
               to find not only common ways to describe common real-world occurrences,
               but also the most common ways in which highly particularized and highly
               contextualized occurrences are described in a given speech community at a
               given point in time. If there are cases where it is natural to use a particular
               expression, but the circumstances do not arise often [cite] (internal citations
               omitted), an appropriately designed corpus search (performed in a
               sufficiently robust corpus) will help us identify these instances and make
               informed, evidence-based judgment about them.

        Thomas R. Lee & Stephen C. Mouritsen, Judging Ordinary Meaning, 127 YALE L.J. 788,

        874–75 (2018) (internal citations omitted). So understood, corpus linguistics does not

        ignore context; it is an additional tool to examine it.

               To illustrate, take this case. I have provided the context for hits I found in my search

        of “loss.” If in certain contexts “loss” includes “intended loss,” one would expect that to

        show up in the way ordinary writers and speakers used the word. Here, however, out of the

        100 randomly selected examples, none used “loss” to refer to “intended loss.” That

        convinces me that if a writer or speaker means intended loss, they pair “loss” with




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                    Professor Lee served on the Utah Supreme Court from 2010 to 2022.

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        “intended,” “anticipated,” “expected” or some similar adjective. And since § 2B1.1(b) did

        not do that, “loss” means “actual loss.”

               The majority states that “[a] survey of novels, magazines, newspapers, popular

        television shows and movies is no match for legal analysis of the text, structure, purpose

        and history of the actual regulation we are considering.” Maj. Op. at 13 n.5. But corpus

        linguistics is not a rival to text, structure, purpose or history. In fact, I considered those

        factors—in addition to the regulatory context—in my opinion. Instead, corpus linguistics

        compliments those considerations, much like dictionaries. The majority’s criticisms of

        corpus linguistics could equally be lodged at dictionaries. Yet no one bats an eye at

        considering dictionaries to assist in interpreting language. In fact, the majority does so in

        its opinion. If our goal is to discern the ordinary public meaning of a word or phrase—as

        we all seem to agree it is—examining the ways the public actually used the words and

        phrases under consideration is worth a look.

                                                   B. Kisor

               Perhaps recognizing the weakness of its position on ordinary meaning, the

        government contends that we should not confine our interpretation of loss to the plain

        meaning of the term. It argues that Kisor v. Wilkie, 588 U.S. 558 (2022) instructs courts to

        “carefully consider the text, structure, history, and purpose of a regulation, in all the ways

        it would if it had no agency to fall back on.” Id. at 575 (cleaned up). Considering the

        structure and purpose of § 2B1.1(b)(1) and the Guidelines as a whole, the government says

        “loss” is ambiguous. To the extent that Kisor applies (see infra Part I.C), I disagree.



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               In Kisor, the Supreme Court explained that “the possibility of deference can arise

        only if a regulation is genuinely ambiguous.” 588 U.S. at 573 (emphasis added). A

        regulation is genuinely ambiguous only if uncertainty exists “even after a court has resorted

        to all the standard tools of interpretation.” Id. (emphasis added). “If uncertainty does not

        exist” as to the meaning of a regulation, “there is no plausible reason for deference” to an

        agency’s interpretation of it. Id. at 574–75. “The regulation then just means what it means,”

        and a court of law must give it effect. Id. That is what we have here. The meaning of the

        word “loss” is clear, as confirmed by the application of standard tools of interpretation.

        “Loss” means actual losses, not intended ones. Yet, the government asks us to scour the

        Guidelines to create an ambiguity that does not exist.

               Considering the structure, purpose and history of the Guidelines in addition to the

        plain text, there is no genuine ambiguity as to the meaning of “loss” in § 2B1.1(b)(1). For

        instance, with respect to the structure of the Guidelines, the government contends that

        § 1B1.3—the Guideline that defines relevant conduct for all offenses—supports finding

        “loss” as used in § 2B1.1(b)(1) to be ambiguous. “Unless otherwise specified,” § 1B1.3

        directs courts to determine a defendant’s base offense level based on, among other things,

        “all harm that resulted from the acts and omissions . . . and all harm that was the object of

        such acts and omissions.” U.S.S.G. § 1B1.3(a)(3). Because “loss” in § 2B1.1(b)(1) is the

        “harm” for this criminal conduct, the government insists that § 1B1.3 directs that we

        consider both the “harm that resulted from” the criminal acts (actual loss) and “all harm

        that was the object” of the criminal acts (intended loss). Id.



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               But a look at other portions of the Guidelines undermines this position. Consider

        § 2T1.1, the Guideline for determining the base offense level for tax evasion. Section

        2T1.1(c)(1) itself defines “tax loss” as “the total amount of loss that was the object of the

        offense (i.e., the loss that would have resulted had the offense been successfully

        completed).” If § 1B1.3’s directive to consider the harm that was the object of an offense

        when determining base offense levels is understood to expand the meaning of “loss” in the

        Guidelines governing base offense levels, § 2T1.1(c)(1)’s definition of “tax loss” would be

        superfluous. There would be no need to define “tax loss” to include the loss that was the

        object of the offense because, if the government was right, § 1B1.3 would already require

        the consideration of that sum, unless otherwise specified. I would not interpret the

        Guidelines in a way that renders portions superfluous. See United States v. Haas, 986 F.3d

        467, 479 (4th Cir. 2021) (applying canon against superfluity when interpreting Guidelines

        provision). So, in my view, § 1B1.3’s directive regarding the consideration of harm does

        not expand the meaning of “loss” as used in § 2B1.1(b)(1). 11




               11
                  The majority reasons that § 1B1.3(a)’s “[u]nless otherwise specified” language
        leads to a different conclusion. According to the majority, § 1B1.3(a) instructs sentencing
        courts as to how to interpret “harm” as used throughout the Guidelines when the definition
        of harm is not “otherwise specified.” So, § 2T1.1(c)(1)’s definition of “tax loss” as “the
        total amount of loss that was the object of the offense” is simply an example of an otherwise
        specified situation. Thus, there is no superfluity. But “otherwise” suggests different. And
        § 2T1.1(c)(1)’s definition of “tax loss” is not different from the government’s reading of
        § 1B1.3(a); it is the essentially same and, in my view, would not be needed—and thus is
        rendered superfluous—if the government’s reading of § 1B1.3(a) supports its
        interpretation of § 2B1.1(b)(1).

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               As for the purpose of the Guidelines, the majority is correct that the Sentencing

        Commission promulgated the Guidelines to “avoid[] unwarranted sentencing disparities

        among defendants with similar records who have been found guilty of similar criminal

        conduct.” 28 U.S.C. § 991(b)(1)(B). But I disagree with the majority’s view that limiting

        “loss” in § 2B1.1(b)(1) to actual losses would result in unwarranted sentencing disparities.

        Maj. Op. at 18. In the majority’s view, “defendants with equal culpability for the same

        criminal acts would receive longer sentences merely because, for one reason or another,

        one succeeded in carrying out their fraudulent scheme while the other did not.” Maj. Op.

        at 18. Such sentencing disparities for basic economic offenses, however, are not

        unwarranted. Consider two individuals who each intend to obtain $1,000,000 in fraudulent

        bank transfers. One individual successfully obtains $1,000,000, while the other individual

        only obtains $1,000. Despite their identical intentions, they did not cause identical financial

        injuries. Both are guilty of committing the same substantive offense, but applying different

        sentencing enhancements under § 2B1.1(b)(1) based on the actual losses they caused does

        not result in an unwarranted sentencing disparity. Quite the opposite; the differing financial

        injuries is what warrants the application of different sentencing enhancements.

               Also, the Sentencing Commission created the Guidelines to “provide certainty and

        fairness in meeting the purposes of sentencing.” 28 U.S.C. § 991(b)(1)(B). Basing the

        application of § 2B1.1(b)(1) enhancements on intended losses—but only if greater than

        actual losses—promotes neither certainty nor fairness. With respect to certainty, a

        defendant is left to wonder how a court will calculate his subjective intended loss. As for

        fairness, few would find it fair to apply the same loss enhancement to two individuals who

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        caused vastly different financial injuries. So, like the structure of the Guidelines, the

        purpose of the Guidelines supports reading “loss” in § 2B1.1(b)(1) to mean actual loss.

               Finally, the Guidelines’ history supports this reading, as well. When the Guidelines

        were first enacted in 1987, the application of § 2B1.1(b)(1)’s loss enhancement was limited

        to offenses of “Larceny, Embezzlement, and Other Forms of Theft.” U.S.S.G.

        § 2B1.1(b)(1) (1987). Under this initial version of § 2B1.1(b)(1), “[i]f the value of the

        property taken exceeded $100,” a court was to increase a defendant’s offense level based

        on the amount of “Loss.” Id. Separately, the 1987 version of § 2F1.1(b)(1) provided the

        loss enhancement for offenses involving “Fraud and Deceit.” U.S.S.G. § 2F1.1(b)(1)

        (1987). Contrary to § 2B1.1(b)(1), § 2F1.1(b)(1) explicitly instructed courts to apply

        sentencing enhancements for offenses involving fraud and deceit “[i]f the estimated,

        probable or intended loss exceeded $2,000.” Id. (emphasis added).

               In 2001, the Sentencing Commission amended the Guidelines, deleting § 2F1.1

        entirely and amending § 2B1.1 to encompass basic economic offenses beyond larceny,

        embezzlement and other forms of theft. See U.S.S.G. § 2B1.1 (2001). As such,

        § 2B1.1(b)(1)’s loss enhancement applied to what § 2F1.1(b)(1)’s loss enhancement once

        covered—offenses involving fraud and deceit. See id. Yet, in deleting § 2F1.1(b)(1) and

        amending § 2B1.1(b)(1), the Sentencing Commission did not include any “intended loss”

        language in § 2B1.1(b)(1). Instead, the amended version of § 2B1.1(b)(1) instructed courts,

        “[i]f the loss exceeded $5,000, increase the offense as follows . . . .” U.S.S.G.

        § 2B1.1(b)(1) (2001). Aside from increases in the monetary amount, this wording has lived

        on in subsequent versions of the Guidelines. Indeed, as previously noted, it is the language

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        of the version at issue in this case and the present version. See U.S.S.G. § 2B1.1(b)(1)

        (2021) and id. (2023).

               Since-deleted § 2F1.1(b)(1) demonstrates that the Sentencing Commission has

        previously specified in the text of a Guideline when “loss” encompasses intended loss. The

        Sentencing Commission’s use of “intended loss” in § 2F1.1(b)(1) and only “loss” in

        § 2B1.1(b)(1) in early versions of the Guidelines should be presumed intentional. Cf.

        Russello v. United States, 464 U.S. 16, 23 (1983) (explaining that when “Congress includes

        particular language in one section of a statute but omits it in another section of the same

        Act, it is generally presumed that Congress acts intentionally and purposely in the disparate

        inclusion or exclusion.” (internal quotations omitted)). Even after deleting § 2F1.1(b)(1)

        and expanding § 2B1.1(b)(1) to cover what § 2F1.1(b)(1) once did, the Sentencing

        Commission never amended the text of § 2B1.1(b)(1) to instruct courts to consider

        intended losses. This history of the Guidelines therefore also supports reading “loss” in

        § 2B1.1(b)(1) to encompass only actual losses.

                                         C. Campbell and Moses

               Last, we need not wade into the question of whether United States v. Campbell,

        22 F.4th 438 (4th Cir. 2022) and United States v. Moses, 23 F.4th 347 (4th Cir. 2022)

        conflict with respect to how Kisor and Stinson v. United States, 508 U.S. 36 (1993) apply

        to Guideline interpretation. That is because under either Kisor or Stinson, the

        commentary’s interpretation of loss is not entitled to deference. Because “loss” as used in

        § 2B1.1(b)(1) is not genuinely ambiguous, Kisor would preclude deference to the

        commentary’s interpretation of the term. See 588 U.S. at 573 (holding that “the possibility

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        of deference can arise only if a regulation is genuinely ambiguous”). And because the

        commentary’s interpretation of “loss” to include intended loss is “plainly erroneous or

        inconsistent with” § 2B1.1(b)(1)’s use of the term, Stinson would likewise preclude

        deference. 508 U.S. at 45; see also id. at 38 (holding that commentary “that interprets or

        explains a guideline is authoritative unless it violates the Constitution or a federal statute,

        or is inconsistent with, or a plainly erroneous reading of, that guideline”). So, regardless of

        whether Stinson or Kisor governs our analysis, “loss” in § 2B1.1(b)(1) still means what it

        is commonly understood to mean—actual loss. It does not include losses a wrongdoer

        intended, but failed, to cause.

               Of course, the Sentencing Commission has every right to define “loss” to include

        intended losses, notwithstanding the way the word is commonly understood. But it has only

        defined the term to include intended loss in the commentary to § 2B1.1(b)(1). Unless and

        until it does so in § 2B1.1(b)(1) itself, we should not defer to the commentary’s definition.

        The term “loss” as used in § 2B1.1(b)(1) unambiguously means actual losses. It does not

        include purely intended losses.



                                                      II.

               For the foregoing reasons, I would vacate Boler’s sentence and remand for

        resentencing. I respectfully dissent.




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                                          Dissent Appendix


              Year      Source Type and         Excerpt of Concordance Line
                        Source
         1    1986      Magazine:               . . . replace what diuretics caused to be lost, but
                        Saturday Evening Post   only recently have researchers considered
                        (May/June)              magnesium loss to be a problem.” Patients with
                                                low serum magnesium, regardless of the . . .
         2    1988      Fiction:                . . . you. And I’m tired of being used…(at
                        Mystic Pizza movie      a loss) like a sex machine. BILL has had it. He
                        script                  gently pushes her . . .
         3    1986      Magazine:               . . . of up to $100 for speeding at 65 mph, with
                        Newsweek (“Does         penalty points toward a loss of license and a
                        Speed Kill?” by Larry   notice to insurers that can cost money at
                        Martz)                  renewal time . . .
         4    1986      Newspaper:               . . . financial statements every year since 1981.
                        Wall Street Journal     For 1985, Raymark posted a net loss of $18.2
                        (Apr. 11)               million on sales of $112.4 million. The
                                                company, previously . . .
         5    1986      Fiction:                 . . . So how bad was your damage?” “She may
                        Red Storm Rising by     be a total loss, sir. It was a Victor. We took one
                        Tom Clancy              hit in the bow . . .
         6    1985      Fiction:                 . . . unto victory, he lay down that night still
                        Depths of Glory by      aching. Nor was it the loss of his ear that
                        Irving Stone            caused this aching. It was the Wee Widow
                                                Mouse. . . .
         7    1990      Newspaper:              . . . year has been a tougher grind. He has lost
                        USA Today (Dec. 26)     20 pounds. After the loss to BYU, he would
                                                wake up in cold sweats. He maintains he is . . .
         8    1985      Magazine:               . . . action that labor leaders said would further
                        U.S. News and World     weaken their power. But business took
                        Report (“Supreme        a loss when the Court declared them subject to
                        Court Shows             civil lawsuits accusing them of conspiring to
                        Independent Streak”     violate . . .
                        by Ted Guest)


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         9    1989      Fiction:               . . . Madoc noticed. “But Wilhelm was a
                        Trouble in the Brassessuperb French-horn player and I regret his loss,
                        by Alisa Craig        not at all for myself but for the world of music,
                                              you understand . . .
         10   1986      Fiction:               . . . every art and know the Ways of all
                        Wielding a Red Sword professions; to distinguish between gain
                        by Piers Anthony      and loss, develop intuitive judgment,
                                              perceiving what could not be seen; to pay
                                              attention even to . .
         11   1990      Magazine:             . . . of the Berlin Wall was due not to strategic
                        Time (Mar. 9)         planning, but to a sudden loss of nerve. A
                                              single ambiguous sentence uttered at a press
                                              conference, a mere . . .
         12   1988      Fiction:              . . . couldn’t get at him any other way, and they
                        Catspaw by Joan D.    figured, no big loss if he found out the truth and
                        Vinge                 killed a few freaks….” She blinked . . .
         13   1988      Fiction:              . . . her agony and Kris’ (still rawly part of her),
                        Arrow’s Fall by       all her loss, all her hatred, and hurled them into
                        Mercedes Lackey       his unprotected mind in a blinding instant . . .
         14   1989      Magazine:             . . . are forged by the hammers of international
                        National Geographic   economics. The 1983 oil-price collapse brought
                        (Jan.)                the loss of 28 percent of government revenues.
                                              Suharto slashed the budget, instituted sweeping
                                              tax . . .
         15   1987      Nonfiction/Academic: . . . the West Coast firm if there were no more
                        The Fall of the Bell  System. By comparison, the loss of the vertical
                        System by Peter Temin elements, Bell Labs and Western Electric,
                        with Louis Galambos would cripple AT in . . .
         16   1984      Nonfiction/Academic: . . . self-reflexivity? apparently over and done
                        The Invented Reality: with for Beckett personally? is correlated to
                        How Do We Know        the loss, which had long since taken place in
                        What We Believe We    other disciplines, of the belief that . . .
                        Know? by Paul
                        Watzlawick (Editor)
         17   1987      Magazine:              . . . U.S. and Britain might rejoin the agency,
                        Time (Oct. 5)         whose programs have been crippled by
                                              the loss of Washington’s $48 million annual

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                                                contribution. But that possibility seemed more
                                                remote . . .
         18   1989      Fiction:                . . . of these welds, the way he polished this
                        The Minotaur by         forging with acid to minimize heat loss. Look
                        Stephen Coonts          here! See how he built this to maximize cooling
                                                and shorten the . . .
         19   1989      Magazine:               . . . lords of Irian Jaya. We are losing our own
                        National Geographic     province.” The first loss is the land. For 30
                        (Jan.)                  miles along the corkscrew road from tiny
                                                Sentani Airport . . .
         20   1990      Magazine:               . . . tack can be disastrous. Not only do drug
                        Black Enterprise        abusers cost the company money in loss of
                        (July)                  productivity and increased medical benefits, but
                                                many may be endangering the lives of . . .
         21   1989      TV Series:              . . . been born in ‘53 and lived in the future.
                        Quantum Leap            Then this whole memory loss thing is another
                                                one of their hoaxes. I’m afraid so. Well, . . .
         22   1984      Fiction:                . . . unless it had to do with that peculiar
                        Alien Cargo by          attitude of resignation about his imagined loss
                        Theodore Sturgeon       of command. “What the hell?” I wanted to
                                                know. . . .
         23   1990      Newspaper:              . . . clinch wild card with two victories, plus
                        USA Today (Dec. 20)     one loss by Cincinnati, or Pittsburgh loss to
                                                Cleveland, or two losses by Kansas City, based
                                                on win against Houston . . .
         24   1985      Nonfiction/Academic:    . . . again in quite the same way. Opportunities
                        The Sense of Sight by   can be irretrievably lost and then their loss is
                        John Berger             like a death. When the Russian tanks entered
                                                Prague in August 1968 Ernst . . .
         25   1987      Newspaper:              . . . true true) e stan jus lokka dis. Wen one a
                        Christian Science       oona fin you loss sheep, oona fa make merry.
                        Monitor (“New Bible     Same feshion, all dem wa een Hebn . . .
                        Translation; Keeping
                        Ancestral Language
                        Alive” by Trip
                        DuBard (Mar. 16))


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         26   1988      Fiction:                  . . . if he’d had to wait for an ambulance he
                        Crown of Stars by         might well have died from loss of blood. I can
                        James Tiptree, Jr.        assure you, Mr. George, that this sort of . . .
         27   1986      Nonfiction/Academic:      . . . hard to raise in sufficient amounts in
                        Economics in Plain        periods of strain at home over
                        English by Leonard        unemployment, loss of export markets, and
                        Silk                      resentment toward growing imports, problems
                                                  that were all intensified . . .
         28   1988      Nonfiction/Academic:      . . . Well, it’s a start, you’re no longer at a loss.
                        The Electronic            Did you take a look at Datanet? Some of Len’s
                        Sweatshop: How            clients follow . . .
                        Computers are
                        Transforming the
                        Office of the Future
                        into the Factory of the
                        Past by Barbara
                        Garson
         29   1989      Newspaper:                . . . a seven-run fifth inning and Minnesota won
                        New York Times            its fifth consecutive game. Seattle’s loss was its
                        (Aug. 28)                 11th in a row. // The Mariners are one defeat
                                                  short of their . . .
         30   1988      Fiction:                  . . . to be wrong. Had to be. Zoya knew she
                        “E” is for Evidence       would not survive another loss. She just
                        by Sue Grafton            couldn’t face it. “I’ll do everything I can . . .
         31   1989      Magazine:                 . . . House Republicans and renegade
                        Time (Oct. 9)             Democrats jumped at a short-term boost in
                                                  revenues against a long-term loss. The
                                                  giveaway fractured the foundation of the
                                                  landmark 1986 tax-reform law. The drain . . .
         32   1989      Nonfiction/Academic:      . . . farmers left cattle overnight in unprotected
                        The Endangered            pastures frequented by wolves. The total
                        Animal Kingdom: The       average annual loss of livestock to wolves in
                        Struggle to Save          Minnesota is about five head of cattle and a
                        America’s Wildlife by     dozen . . .
                        Roger L. Disilvestro
         33   1985      Nonfiction/Academic:      . . . Defending China was under threat. A
                                                  missed opportunity that went wrong (the loss of

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                        Defending China by      a window for taking Taiwan), was not as bad as
                        Gerald Segal            the necessity . . .
         34   1984      Newspaper:              . . . In the year-earlier second quarter, European
                        Wall Street Journal     American earned $10.2 million. The loss also
                        (July 11)               caused the six parent banks to add $80 million
                                                in capital to European American . . .
         35   1990      Newspaper:              . . . Kansas City Bears have clinched division
                        USA Today (Dec. 20)     title, based on overall record; one more loss
                                                (home vs. Tampa Bay, home vs. Kansas City)
                                                or a . . .
         36   1990      Magazine:               . . . Most of the consequences of sanctions were
                        History Today (Sept.)   unintended. While privileged whites suffered
                                                a loss of perhaps ten Rhodesian dollars per
                                                capita per annum, most of the hardships
                                                were . . .
         37   1986      Magazine:               . . . and movies are evil. It’s not true. Writing is
                        Newsweek                writing.” Loss of control: Still, for most
                        (“Broadway Goes to      playwrights there is one big drawback in
                        the Movies” by David    movie . . .
                        Ansen)
         38   1986      Newspaper:              . . . sweeping sales incentives, GM’s costs
                        Wall Street Journal     caused it to post a third-period operating loss.
                        (Jan. 10)               Ford and Chrysler had operating profits despite
                                                offering similar incentives. The current
                                                round . . .
         39   1990      Newspaper:              . . . be in the hunt for another title. Sullivan
                        USA Today (Dec. 26)     again, recalling the 29-20 loss to Notre Dame:
                                                “I thought the chance for No. 1 was dead, . . .
         40   1985      TV Series:              . . . How terribly painful it must be. There’s
                        Dallas                  no... No explaining the loss of a child. I’m not
                                                looking for explanations. The only thing
                                                that . . .
         41   1985      Newspaper:              . . . unprofitable for the past 2 1/2 years. In
                        Wall Street Journal     1984, it had an operating loss of $73.1 million;
                        (Oct. 11)               in this year’s first half it had an . . .
         42   1984      Magazine:               . . . Parkinson’s disease and often respond to
                                                anti-Parkinson’s disease medication. The
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                        Saturday Evening Post symptoms include loss of coordination, slurred,
                        (Sept.)               “cog wheel” speech, a shuffling gait and . . .

         43   1986      Magazine:                . . . manuscript -- burned again! What they
                        Time (Oct. 13).          confiscated on the train was the fourth loss.
                                                 There were others to come. So don’t be
                                                 surprised that I call . . .
         44   1988      Newspaper:               . . . poll of voters. They said their support was
                        New York Times           undiminished by Mr. Jackson’s loss last week
                        (Apr. 27)                in New York to Mr. Dukakis or by the large
                                                 lead that pollsters . . .
         45   1990      Magazine:                . . . B-2 would mean the demise of its builder,
                        Time (Aug. 6)            the Northrop Corp., and the loss of at least
                                                 12,000 jobs. . . .
         46   1989      Fiction:                 . . . children; she can’t give up her shame that it
                        The Other Side by        was through her this loss came about. Every
                        Mary Gordon              year, the girls come for August and life is
                                                 different . . .
         47   1984      Fiction:                 . . . were quick to take advantage of their sacred
                        The Sicilian by Mario    liberties. They would all regret the loss of
                        Puzo                     Mussolini, the Maresciallo thought grimly.
                                                 Compared with the Friends of the Friends . . .
         48   1989      Newspaper:               . . . not participate in the 1989 price and income
                        Chicago Tribune          support programs will have to absorb a loss of
                        (Aug. 15)                half of their normal production before they
                                                 receive any payment. Soybean producers
                                                 must . . .
         49   1986      Newspaper:               . . . didn’t do as well as I expected. They had a
                        Wall Street Journal      higher-than-expected loan loss provision, and
                        (Apr. 11)                non-interest expenses rose 12%.” Chemical
                                                 New York had a gain . . .
         50   1990      Magazine:                . . . estrogen levels taper off quite slowly after
                        Newsweek (Aug. 6)        menopause. Their bodies partially compensate
                                                 for the loss by converting the male hormone
                                                 androgen (present in all women) to
                                                 estrogen. . . .


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         51   1986      Newspaper:            . . . seal the seam where the two bottom
                        Chicago Tribune (Feb. sections of the booster were joined. A loss of
                        15)                   elasticity from the cold could have allowed hot
                                              rocket exhaust gases to escape through . . .
         52   1987      Fiction:              . . . he heard himself shouting, “let’s not lose
                        Confessions of Johnny any more!” The loss of the horses meant the
                        Ringo by Geoffrey     loss of their only apparent means of escape.
                        Aggeler               Even . . .
         53   1984      Magazine:             . . . truly devastating disorder that costs our
                        Saturday Evening Post country about $10,000,000,000 in terms of
                        (Sept.)               medical care and loss of productivity. Since the
                                              disease is characterized by premature morbidity
                                              and mortality, covers . . .
         54   1990      Magazine:              . . . Or, they maintain, given the subtle
                        Wilderness (Summer) interactions among species, the loss of even one
                                              apparently insignificant species may have
                                              unexpected (and disastrous) ramifications
                                              that . . .
         55   1989      Magazine:             . . . make up the last two sections of Human
                        The Nation (Dec. 11)  Wishes, he traces pleasures and their loss? in
                                              love, in family life, in the living world? with
                                              intelligence . . .
         56   1986      Fiction:              . . . to Ben Yehuda Street until the world has
                        Shattered Silk by     opportunity to weep with us over the loss of
                        Barbara Michaels      Arab lives.” “What do you mean, your
                                              excellence?” . . .
         57   1985      Newspaper:            . . . Phoenix’s Alvan Adams goes up for two
                        Chicago Tribune       points in the Suns’ 108-101 loss to Atlanta
                        (Nov. 15)             Wednesday night. . . .
         58   1984      Magazine:             . . . Under Social Security regulations, workers
                        Time (Sept. 10)       with serious injuries, like the loss of two limbs,
                                              seldom have difficulty proving that they are
                                              entitled to disability payments . . .
         59   1989      Newspaper:            . . . first week of next month, the company said.
                        Wall Street Journal   Despite the charge and expected loss for the
                        (Oct. 11)             quarter, the company’s preliminary fourth-
                                              quarter report struck a positive note . . .

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         60   1986      Fiction:                 . . . I see misfortune, sorrow in your past.”
                        Bartholomew Fair         “Oh.” “Loss, death of children.” “Only one of
                        Murders by Leonard       my children lived,” . . .
                        Turney
         61   1987      Magazine:                 . . . That is what Cendra Lynn, a psychologist
                        The Nation (Oct. 31)     who specializes in grief and loss, wrote in the
                                                 reunion’s “yearbook” a word processor that
                                                 took . . .
         62   1984      Nonfiction/Academic:     . . . diet in a meal form rather than pelletized.
                        Farm Animals by          The reasons for differences in weight loss and
                        Michael W. Fox           shrinkage between those fed meal or pellets is
                                                 not known. . . .
         63   1988      Fiction:                 . . . Right. She got home in August, minus
                        “E” is for Evidence      Julian, which is no big loss. He was a dud if I
                        by Sue Grafton           ever saw one. A real bore. . . .
         64   1986      TV Series:               . . . have such a beautiful face to look at, the
                        The A-Team               evening would be a total loss. (croupier
                                                 speaking FRENCH) Monsieur Jourdan wins
                                                 again. What took you? Murdock’s . . .
         65   1985      Fiction:                 . . . threaten him half as much as the danger
                        Texas by James A.        which hung over the Macnabs: the loss of their
                        Michener                 entire investment. What you do, Templeton, is
                                                 what we’ve . . .
         66   1987      Nonfiction/Academic:     . . . essence of engineering rationality a
                        The Civilized            recognition of its proper limits. | Risk and the
                        Engineer by Samuel       Loss of Challenger No discussion of
                        C. Florman               engineering and risk would be complete
                                                 without reference to one . . .
         67   1987      Fiction:                 . . . it almost shone. “I did not mean to be the
                        Out of Phaze by Piers    agent of your loss of woman.” Loss of woman?
                        Anthony                  That must refer to the way Mach . . .
         68   1989      Fiction:                 . . . white inner surface of her wrist, that made
                        The Joy Luck Club by     her seem distracted, at a loss. Her hair was still
                        Amy Tan                  fairly long but she had done something to it that
                                                 ...



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         69   1987      Newspaper:                 . . . its problems with Cessna. A company
                        Wall Street Journal      spokesman said the write-off will result in a
                        (Jan. 9)                 loss for the fourth quarter. In the 1985 fourth
                                                 quarter, General Dynamics had net . . .
         70   1985      Nonfiction/Academic:     . . . hosts. Halfdan, they knew, was slain, and
                        German Myths and         that the gods had loss of power because that
                        Legends by Donald A.     Idun had been taken away. Icy arrows were
                        MacKenzie                shot over . . .
         71   1988      Newspaper:               . . . executive recruiters. . . . A Carnegie Mellon
                        Wall Street Journal      University researcher says that depressed-
                        (Oct. 11)                worker loss estimates of up to $13 billion a
                                                 year in lost workdays ignore lower on-the-job
                                                 productivity . . .
         72   1987      Magazine:                . . . More important, for reasons that are not yet
                        Time (Feb. 23)           known, menopause speeds up bone loss.
                                                 Osteoporosis is the excessive form of this
                                                 natural process. An extreme consequence . . .
         73   1990      Newspaper:               . . . can claim third wild card with two victories
                        USA Today (Dec. 21)      plus two losses by Dallas and one loss each by
                                                 Green Bay and Tampa Bay. Minnesota would
                                                 win tiebreaker with Saints, . . .
         74   1990      Magazine:                . . . As it turns out, the chance of recovering
                        Washington Monthly       even some of the loss is less than one in four. In
                        (Nov.)                   NYSE arbitrations, customers win 50 percent . .
                                                 .
         75   1986      Newspaper:               . . . Americans work on such projects out of a
                        Wall Street Journal      sense of civic duty. While the loss of a key
                        (July 11)                person can be inconvenient, not even the most
                                                 zealous antiwar advocates . . .
         76   1989      Fiction:                 . . . so they aren’t popular with other couples.
                        The Other Side by        Dan will never get over the loss of his children;
                        Mary Gordon              she can’t give up her shame that it was
                                                 through . . .
         77   1987      Movie:                     . . . a veterans hospital he contracted spinal
                        Suspect                  meningitis, became deaf and suffered a
                                                 traumatic speech loss. We will show that Carl


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                                                Anderson lived in a world where $9.00 could
                                                mean . . .
         78   1990      Magazine:               . . . could be stifled by rigid rules and assaulted
                        U.S. News and World     by rebellious taxpayers. Businesses fear the
                        Report (Oct. 29)        loss of competitiveness against foreign
                                                companies that do not have to clean up their
                                                wastes or . . .
         79   1987      Newspaper:              . . . retreated into their own world, content in
                        New York Times          their isolation, but concerned about its loss of
                        (June 28)               vitality. // Nevertheless, while traditionalists
                                                dreamed of the past, those seemingly
                                                disparate . . .
         80   1990      Magazine:               . . . heading of retinitis pigmentosa. These
                        Science News (Sept.     range from barely perceptible (and frequently
                        15)                     undiagnosed) loss of vision to potentially
                                                deadly syndromes with symptoms such as
                                                blindness, deafness and mental . . .
         81   1987      Magazine:               . . . for the foundation and walls, that the $191
                        U.S. News and World     million structure may be a total loss and need to
                        Report (“How to         be destroyed. Any hope that the new embassy
                        Protect U.S.            was not completely . . .
                        Embassies” by
                        William L. Chaze)
         82   1985      Magazine:            . . . to be making a move toward its first Pac-10
                        Sports Illustrated   title, but a 14-13 nonconference loss to
                        (Oct. 7)             Colorado has left the Wildcats up a tree. The
                                             Buffaloes threw just four . . .
         83   1985      Fiction:             . . . fifteen minutes or so earlier. In addition,
                        Wishsong of Shannara partly to make up for the loss in technical
                        by Terry Brooks      assistance that the departure of the troops
                                             would entail, more technicians and . . .
         84   1984      Magazine:            . . . the people was in the people’s hands. This
                        Harper’s BAZAAR      was considerably more than a loss of the party
                        (July)               potentates’ power. It was a dire menace to the
                                             entire . . .



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         85   1984      Fiction:               . . . find out. He is part of us.” Gosten was upset
                        The Grey Beginning     about the loss of his son. “I can not imagine
                        by Barbara Michaels    him just jumping off a cliff! . . .
         86   1985      Nonfiction/Academic:   . . . and flew forth towards the dominion of
                        German Myths and       Thjasse-Volund in the bird-guise of Freyja.
                        Legends by Donald A.   The loss of ldun had dread effect in Midgard as
                        MacKenzie              in Asgard. Cold winds blew from . . .
         87   1989      Newspaper:             . . . strikes were blamed for a drop in London
                        New York Times         box-office receipts. Trying to combat that loss,
                        (Aug. 28)              box-office personnel in at least one theater
                                               were told to lie when asked if . . .
         88   1985      TV Series:             . . . marred by an extraordinary event. Security
                        Misfits of Science     officers and plant officials are still at a loss to
                                               explain the security breach by three people
                                               believed to be in their eighties who . . .
         89   1990      Magazine:              . . . year in a row; premium and interest income
                        Time (Aug. 27)         of $3 billion will cut the loss to $2 billion,
                                               leaving a total of $11 billion in the fund.
                                               Although . . .
         90   1986      Newspaper:             . . . His political leanings were the most
                        Christian Science      controversial aspect of his life and resulted in
                        Monitor (June 13)      the loss of at least one commission - a mural at
                                               Rockefeller Center in which he had . . .
         91   1987      Nonfiction/Academic: . . . nuclear power and aid to third world
                        Information            countries has had highly undesirable and
                        Technologies and       unpredicted consequences: loss of soil
                        Basic Learning by The nutrients, pollution of water tables, radiation
                        Center for Educational from nuclear accidents, and . . .
                        Research and
                        Innovation
         92   1988      Magazine:              . . . The initial diagnosis was “alopecia areata”
                        Good Housekeeping      or “just a small hair loss.” But at some point? I
                        (Apr.)                 honestly can’t remember when? It . . .
         93   1985      Newspaper:             . . . The party selling the 800,000 shares at the
                        Wall Street Journal    lower price realized a loss of $322,000. That’s
                        (Oct. 11)              the same amount as the dividend payment . . .


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         94    1986     Magazine:                 . . . grains. // Johnson’s imaginative creation of
                        Sports Illustrated        habitat stands out in a region where loss of
                        (June 30)                 habitat has been the custom. In Jersey City, a
                                                  colony of 100 . . .
         95    1985     Movie:                    . . . don’t bounce the ball. When it came to
                        Fletch                    basketball, Gail was a loss. But we had our own
                                                  version of one-on-one . . . and she thought I
                                                  was . . .
         96    1985     Nonfiction/Academic:      . . . of the PLA were more involved in political
                        Defending China by        control tasks and were disturbed at the loss of
                        Gerald Segal              their political influence in a purely professional
                                                  military. In the late 1950s Peng . . .
         97    1984     Fiction:                  . . . shirt sleeve and said indignantly, “My
                        The Grey Beginning        shirt’s torn.” “Small loss,” I said, eyeing the
                        by Barbara Michaels       faded garment. Out of the corner of . . .
         98    1989     Magazine:                 . . . babies. He explains, “The mind can be so
                        Good Housekeeping         shell-shocked by the first loss that there is a
                        (Apr.)                    need to work through the grief by recreating the
                                                  experience. . . .
         99    1984     Newspaper:                . . . NEW YORK -- European American
                        Wall Street Journal       Bancorp posted a $137.7 million loss in the
                        (Jul. 11)                 second quarter, among the largest quarterly
                                                  losses ever for a U.S. bank . . .
         100   1990     Newspaper:                . . . off bus vs. Steelers, still smarting from
                        USA Today (Nov. 23)       lashing at Cincinnati. Steelers consider loss to
                                                  Bengals a minor hiccup in drive to the playoffs
                                                  after 1-3 start. Steelers . . .




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